UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                          CIVIL MINUTE ENTRY

                                  Lee G. Dunst
 BEFORE:                          U.S. MAGISTRATE JUDGE
                                                                                                 Deputy: Chelsea Tirado
                                                         February 8, 2024
 DATE:
                                                               11:00AM
 TIME:
                                ☐ In Person          ☐ Video Conference       ☒ Telephone Conference
 FORMAT:
                                                     21-CV-5400 (GRB)(LGD)
 DOCKET NUMBER(S):

 NAME OF CASE(S):                Barahona et. al. v. Paradise Tree Service & Landscape, Corp. et. al.

 FOR PLAINTIFF(S):               Steven John Moser

 FOR DEFENDANT(S):               Glenn J. Ingoglia


 NEXT CONFERENCE(S):             March 29, 2024 at 2:00PM via AT&T Teleconference
                                                                             (877-402-9753 – Access Code: 2785175)


 FTR/COURT REPORTER: 11:00-11:14, via AT&T Teleconference


 RULINGS FROM STATUS CONFERENCE:

 Case called. Counsel for all sides present.

 For the reasons stated on the record, Defense Counsel’s motion to withdraw as an attorney at DE’s [48] and [52]
 is GRANTED. The Clerk of the Court is respectfully directed to terminate Glenn J. Ingoglia as counsel of record
 for Defendants. Defendant William Nieto shall either advise the Court that he is proceeding pro se or submit a
 notice of appearance for new counsel on behalf of Defendants by 3/15/2024. Defendant Paradise Tree Service
 & Landscape, Corp. is notified that it must have counsel; it cannot proceed pro se. See Chalos & Co., P.C. v.
 SRAM & MRAM Res. Berhad, No. 23CV2523, 2023 WL 7325424, at *1 (E.D.N.Y. July 10, 2023) (“Defendant,
 as a corporation, cannot represent itself pro se in an action filed in federal court.”) (citing Jones v. Niagara
 Frontier Trarnsp. Auth., 722 F.2d 20, 22 (2d Cir. 1983)).

 Plaintiff shall serve this Order on Mr. Nieto and file proof of service on ECF. Plaintiff shall serve Mr. Nieto
 electronically at Nietow@live.com, and at his address at 193 Lafayette Street in Copiague, NY 11726.


                                                                      SO ORDERED

                                                                      /s/ Lee G. Dunst
                                                                      LEE G. DUNST
                                                                      United States Magistrate Judge
